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U.S. DISTRICT COURT

DISTRICT OF MAINE
PORTLAND
RECEIVED AND FILED
UNITED STATES DISTRICT COURT
DISTRICT OF MAINE MAR 20 2024
CHRISTA K. BERRY, CLERK
UNITED STATES OF AMERICA BY
DEPUTY CLERK
v. No. 2:24-cr-Q0034 -JRAW
ADEN MOHAMED,
a/k/a “AD”, a/k/a “Mike”
INDICTMENT
The Grand Jury charges:
COUNT ONE
(Conspiracy to Violate Federal Firearms Laws)
THE CONSPIRACY AND ITS OBJECTS
1; Beginning in about late 2020, and continuing until at least about August

2022, in the District of Maine and elsewhere, the defendant,

ADEN MOHAMED, a/k/a “AD”, a/k/a “Mike,”
and another known individual, knowingly and intentionally conspired with each other
and with others known and unknown to commit offenses against the United States,
specifically, (1) knowingly making false statements or representations with respect to
information required to be kept by a federal firearms licensee in violation of Title 18,
United States Code, Section 924(a)(1)(A); and (2) knowingly making a false oral or
written statement, intended or likely to deceive a federal firearms licensee in violation of
Title 18, United States Code, Section 922(a)(6).

MANNER AND MEANS OF THE CONSPIRACY

2, It was a part and object of the conspiracy that Defendant’s co-conspirators,
at the direction of Defendant and with money provided by him, purchased firearms from

federal firearms licensees in southern Maine intending to turn the purchased firearms
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over to Defendant.

3. It was a part and object of the conspiracy that Cooperating Defendant-2
(“CD-2”) made false statements in connection with the acquisition, or attempted
acquisition, of firearms from licensed dealers of firearms within the meaning of Chapter
44, Title 18, United States Code, which statements were intended and likely to deceive
the licensed dealers of firearms, as to a fact material to the lawfulness of the sale of each
of the respective firearms, including false statements and representations in forms that
licensed dealers of firearms were required to keep.

OVERT ACTS

4. During the course of the conspiracy the following firearms were obtained

by Defendant through CD-2 in the manner described in paragraphs 2 and 3, above.

ivayein Date of Federal Firearms
Acquisition Licensee
1 | Glock Model 23 Gen 5,.40 ‘| June 29, 2022 Northeastern Firearms LLC,
caliber pistol BKHP151 Turner, Maine

2 | Glock Model 26 Gen 5, 9mm | June 30, 2022 =| Northeastern Firearms LLC,
pistol AFYU261 Turner, Maine

3 | Glock Model 308, .45 caliber | June 30, 2022 Kittery Trading Post, Kittery,
pistol BKHV337 Maine

4 | Glock Model 23 Gen 3, .40 | August 11, 2022 | G3 Firearms, Turner, Maine
caliber pistol BXDK781

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5 | Glock Model 27 Gen 5, .40 August 11, 2022 | Gg Firearms, Turner, Maine
caliber pistol BKMU247

5. For each of the firearms listed above, CD-2 made false statements in
connection with the purchase of the respective firearm. For example, CD-2 answered
“yes” to question 11a on ATF Form 4473 which asks “[A]re you the actual
buyer/transferee of the firearm listed on this form?” In fact, CD-2 did not intend to
keep either firearm for him/herself and intended to give the firearms purchased to
Defendant after the sale.

6. For each of the firearms listed above, CD-2, at the direction of Defendant,
purchased the respective firearm from the federal firearms licensee and gave the firearm
to the Defendant on the day of the sale.

Wi For each of the firearms listed above, CD-2 was compensated by
Defendant with cash or drugs.

In this way, the defendant violated Title 18, United States Code, Section 371.

COUNT TWO
(False Statements During the Purchase of Firearms)

8. On about August 11, 2022, within the district of Maine, the defendant,
ADEN MOHAMED, a/k/a “AD”, a/k/a “Mike,”
aided, abetted, counseled, commanded, and induced CD-2 to knowingly make false
statements and representations to G3 Firearms, LLC, an FFL licensed under the
provisions of Chapter 44 of Title 18, United States Code, with respect to information
required by the provisions of Chapter 44 of Title 18, United States Code, to be kept in the

FFL’s records. Specifically, CD-2 executed Department of Justice, Bureau of Alcohol,
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Tobacco, Firearms, and Explosives Forms 4473, Firearms Transaction Records, falsely in
connection with CD-2’s purchase of the following firearms from G3 Firearms in Turner,
Maine: (1) a Glock Model 23 Gen 3, .40 caliber pistol bearing serial number BXDK781,
and (2) a Glock Model 29 Gen 5, .40 caliber pistol bearing serial number BKMU247. On
the Form 4473, CD-2 misrepresented as true, correct, and complete in Section B, Box
21.a, that CD-2 was the actual transferee/buyer of the firearms, and was not buying them
on behalf of another person, when in fact, CD-2 purchased the firearms at the direction
of, and with funds provided by, MOHAMED.

In this way, the defendant violated Title 18, United States Code, Section 922(a)(6)
and 2.

COUNT THREE
(Conspiracy to Distribute Controlled Substances)

9. Beginning in about July 2022, and continuing through at least July 2023,

within the district of Maine and elsewhere, the defendant,
ADEN MOHAMED, a/k/a “AD”, a/k/a “Mike,”

knowingly and intentionally conspired with others, both known and unknown, to
distribute and possess with intent to distribute controlled substances, including a
mixture or substance containing a detectable amount of cocaine, its salts, optical and
geometric isomers, and salts of isomers.

In this way, the defendant violated Title 21, United States Code, Sections 846 and
841(a)(1).

FORFEITURE ALLEGATION
10. | Upon conviction of the firearms offenses charged in Counts One and Two

of this Indictment, the defendant,
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ADEN MOHAMED, a/k/a “AD”, a/k/a “Mike,”
shall forfeit to the United States, pursuant to Title 18, United States Code, Section
924(d) and Title 28, United States Code, Section 2461(c), any firearms and ammunition
involved or used in the knowing commission of the offense, including but not limited to,
a Glock Model 23 Gen 3, .40 caliber pistol bearing serial number BXDK781; a Glock
model 19, 9 mm pistol, serial number BVGW528; and a Polymer80, model PF940C, 9
mm pistol, no serial number.

11... _Ifany of the property described in Paragraph 10, above, as being
forfeitable pursuant to Title 18, United States Code, Section 924(d)(4), and Title 28,
United States Code, Section 2461(c), as a result of any act or omission of the defendant -

a, cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided
without difficulty;

it is the intention of the United States, pursuant to Title 28, United States Code, Section
2461(c), incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of

any other property of the defendant up to the value of the property described in above.
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All pursuant to Title 18, United States Code, Section 924, and Title 28, United

States Code, Section 2461.

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Assiétant United States Attor ney
Date: (WOLCH BO _ YyoRY

